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EXHIBIT Q
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QUESTIONS FOR THE LUXURY HAUS, INC,

Li Name of business including all trade aaa
AY t=) Mise es

a. Addresses of all business locations.

3. If the judgment-debtor is a corporation,
officers and directors. saa
ann aa = ~ Z Ne rp

4, If a partnership, list the names and addresses of all LL
~— a rt TY}

5. If a limited partnership, list the names and addresses of all general partners.
LA.

ad - mM A

6. If the judgment-debtor is a limited liability company, the names and addresses of all

members.
_ i ff _
Witt
7. Set forth in detail the name, address and telephone number of all businesses in which the

principals of the judgment-debtor now have an interest and set forth the nature of the

OS

8. For all bank accounts of the judgment-debtor business entity, list the name of the bank,
the bank’s address, the account number and the name in which the account is held.

interest,

Fe —

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9, Specifically state the present location of all books and records of the business, including

checkbooks. ty
fap eae a a pitieye f en

10. State the name and address of the person, persons, or entities who prepare, maintain
and/or control the business records and checkbooks.

as —— Cees = i

11. List all physical assets of the business and their location. If any asset is subject to a lien,
state the naine and address of the lienholder and the amount due on oo
wan
j

nO

— 1

12, Does the business own any real estate? Yes
If yes, state the following for each property:

Name(s) in | Address of Date Purchase { Name ondaddress | Balancedue | The names and

which property property price of mortgage holder | on mortgage | addresses of all

property is WAS tenants and

owned purchased monthly rentals
paid by cach

Le on scenscamumeatieaesenceecil tenant !

MONTHLY RENTAL

13, _ List all motor vehicles owned by the busineas, stating the following for each vehicle:

Vehicle
Make Model Year License Plate Identification
- ies a a Number
vine oT od OO
Lien Holder Lien Helder Address ~~ TAmount Due _

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14, List all accounts receivable due to the business, stating the name, address and amount duc
on each receivable.

NAME AND ADDRESS AMOUNT DUE

15. For any transfer of business assets that has occurred within six months from the date of
this subpoena, specifically identify:

a
at
(a) Thenature ofthe asset Ae |- scree ata

(b) The date of transfer a Sig ees

(c) Name and address of the person to whom the asset was transferred

(d) The consideration paid for the asset and the form in wile Ja (check, cash,

etc.) - nN i

(e) Explain in detail what happened to the consideration paid for the asset
oS ie

a —_ - ¥ tr sical

16. If the business is alleged to be no longer active, set forth:

(a) The date of cessation _ 90 | \ See eel
. ‘

(b) All assets as of the date of cessation atl

(c) The present location of those assets _ halt

(d) If the assets were sold or transferred, set forth:
(1) Thenature ofthe assets 0 coll OO pega

(2) Date of transfer _

(3) Name and address of the person to whom the assets were transferred
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(4) The consideration paid for the assets and the form in which it was paid

(5) Explain in detail what happened to the consideration paid for the assets

17. Set forth all other judgments that you are aware of that have been entered against the
business and include the following:

[ Creditor's Creditor's Amount ~ Name of Docket
Nan Atta: _| Dye | Court | Number __|
morte | to le ~

Bi ag SS A maior] bo
_ : | caren

+

18. For all litigation in which the business is presently involved, state:

fr po Names of all parties Name of the |
Date Name of party Nature of and the names, Trial Status of | court and
litigation who started the | the action addresses and dnte tase dockol
conumenced litigation telephone numbers number
of their attorneys

{ ab Gs Ae? ane

19, State the name, address and position of the person 7 these questions:

I hereby certify that the foregoing statements made by me are true, I am aware that if any of the
foregoing statements made by me are willfully false, 1 am subject to punishment.

Date: 6 . \O ‘| { Signature:

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QUESTIONS FOR ANTONIO L. GUTIERREZ
1 Full name fede Ku dye ANE _ _
17 = * 7)

i Address _ poe sei

ay Birthdate |

4, Socia] Security #

s, Driver's license # and expiration date _ Spee
6. Telephone # es ‘Abt nve 5 Poo Ly
ge Full name and address of employer

(a) Your weekly salary: Gross $ Net $ sears

{b)  Ifnot presently employed, name and address of last employer.

5 wo Ss
446 eh
361 OH

8. Is there opty a wage execution on your salary? {) ote Pk.

Yes — NG cee eno J v

9. List the names, (pee numbers of all bank accounts. on which your name
appears. os pee was

10. ‘If you receive money from any of the following sources, list the amount, how often, and
the name and address of the source:

TYPE Amount & Frequency Name & Address of Sources
Alimony seneearemeanenaiemnionelatel - iain
Loan Payments i _

Bank Interest
Stock Dividends _ oe

Rental Income = Seas, oo piesa ai
Pensions fi th

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11. Do you receive any of the following, which are exempt fiom levy? Any levy on
disclosed exempt funds may result in monetary penalties including reimbursement of the

debtor's out-of-pocket expenses. SY
Social Security benefits Yes Amount permonth ss No

§.5.]. benefits Yes = <Amountpermonth = ss No Zr
Welfare benefits Yes _ Amount permonth = ss No

V.A. benefits Yes Amount permonth _ No a
Unemployment benefits Yes Amount permonth = ———s——sSNoo
Workers! compensation benefits Yes _ Amount permonth No _ i
Child support payments Yes = Amountpermonth ss No 7

Attach copies of the three most recent bank statements for each account listed in
Question 9 that contains funds from these sources.

12. Do you own the property where you reside?
Yes No . If Yes, state the following:

(a) Name ofthe owner or owners 0
(b) Date property was purchased _
(ce) Purchase price
(d) Name and address of mortgage holder

(e) Balance due.on mortgage aera

13. Do you own any other real estate?

Yes x No . If Yes, state “tb ing for each pro Wel hel
(a) Address of property _ “1 tc a [. £y (AI v Kul * fy! ld

(b) Date properly was pu:
(c} Purchase price __

— i. 7 4 S £
(a) Name and address of all owslers dia c.f 1

bet
(e) Name ie ess of ee

(i) palanea dus due on a tones pre
(g) Name and address of al] tenants and monthly rental paid by each tenant __

smectite —rp-tal———— mene

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14, Does the present value of your personal property which includes automobiles, furniture,

appliances, stocks, i on hand, exceed $1,000?
Yes _ No _ Jf the answer is "yes" you must itemize all personal

property o wned by you.

Cash on hand: $

Other personal property: (Set forth make, model and serial number. If financed, give
name and address of party to whom payments are made).

— If Financed
Date Purchase Balance Still Present

Item Purchased Price Due Value

ia i rll empoom pei picid

|
15. Do you own a motor :
Yes No . If yes, state the following for each vehicle owned:
~~ Vehicle
Make Model Year . License Plate Identification
a _ | _ [Number

Lien Holder - Lien Holder Address ~ | Amount Due

16. Do you own a business? Lo.
If yes, state the following:

Yes ee No _ _

(a) Name and address of the business _ _

(b) Is the business a corporation , sole proprietorship or partnership ?

(c) The name and address of all stockholders, officers and/or partners
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(d) The amount of income received by you from the business during the last twelve

months a
_f
ft ‘ 6

17. Set forth all other judgments that you are aware of that have been entered against you and

inclode:
Creditor's Creditor's Amount Name of
Name Attorney Due Court Docket #
i i 4t—-+ f- seo — see
___y, ates (ee ,00 1 proba _
Ae AS fede LES tall oom

I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully 7T J am subject to punishment.

Date: 6-b- \S sigunve: A ‘ /| _Name: ibe
Or
